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                  IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE:                                         ) Case No. 21-21338-CMB
Denise M. Campbell,                            )
            Debtor,                            ) Chapter 13
Denise M. Campbell,                            )
            Movant,                            ) Hearing  Date:
                                                 Related to: Document No. 54
       vs.                                     ) Response Due:
Ronda J. Winnecour, Chapter 13 Trustee,        ) ENTERED BY DEFAULT
            Respondent.                        ) Document No.


                                   ORDER OR COURT

       AND NOW, to-wit, this 5th      day of        January                  2 it is hereby
                                                                        , 202_,

ORDERED, ADJUDGED, AND DECREED that the settlement of Debtor’s pre-bankruptcy

lawsuit for personal injuries and damages filed at Case No. 19-CI-6522 in the Court of

Common Pleas of Westmoreland County in the amount of $100,000.00 is hereby

approved.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the proceeds be

distributed in accordance with the Settlement Distribution Sheet, including the distribution

of the exemption amount of $3,100.00 directly to the Debtor with the remainder of said

net proceeds to the Chapter 13 Trustee for general plan funding.

                                                  By the Court,


                                                  ________________________
                                                   _______________________________
                                                  Carlota M. Böhm
                                                  Chief  JudgeStates
                                                  Chief United  Carlota M. Böhm
                                                                     Bankruptcy Judge
                                                  United States Bankruptcy Court
                                                  FILED
                                                  1/5/22 8:02 am
                                                  CLERK
                                                  U.S. BANKRUPTCY
                                                  COURT - WDPA
